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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1. THE CIGAR BOX, LLC DBA THE
   CIGAR BOX,
2. VANESSA TIDMORE,
     Plaintiffs,
                                                          Case No. CIV-22-519-SLP
v.

1. HOUSTON SPECIALTY INSURANCE
   COMPANY,
     Defendants.

                                        COMPLAINT

       The Cigar Box, LLC dba The Cigar Box (here Bar) and Vanessa Tidmore, (here

Tidmore), Plaintiffs here, seek a declaratory judgment pursuant to 28 U.S.C. § 2201, to

determine a controversy as to parties’ rights and obligations under an insurance policy

issued by Defendant Houston Specialty Insurance Company (Houston) to Bar and allege:

                                        JURISDICTION

       1.      Plaintiff, Bar, is a limited liability company created under Oklahoma law, all

the partners of which are Oklahoma citizens.

       2.      Plaintiff, Tidmore, is an Oklahoma citizen.

       3.      Defendant, Houston, is an insurance company created, incorporated and having

its principal place of business in Texas.

       4.      This case concerns whether coverage is afforded by insurance policies

Houston issued which had liability coverage in excess of $75,000.00, for claims against

Bar.

       5.      This Court has diversity jurisdiction pursuant to 28 U.S.C, § 1332(a)(1).
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                                           VENUE

       FACTS

       6.      Plaintiff, Tidmore, sued Bar over a car wreck in which a bar patron who was

also a bar employee was driving after drinking alcohol at Bar claiming Bar over-served the

bar patron, an off-duty Bar employee.

       7.      Bar had an insurance policy with Defendant, Houston, containing a

$1,000,000 liability limit. The policy provides coverage for injury that occurs by reason of

the selling, serving, or furnishing of any alcoholic beverage.

       8.      Defendant, Houston, denied coverage for the claim, saying the policy does

not apply to a claim or suit arising out of or resulting from service of alcohol to an

employee, regardless of whether the employee is on or off duty, and the policy excludes

coverage arising out of the serving or furnishing of any alcoholic beverage by any person

who does not have a current TIPS Alcohol Certification. The employee who served the

patron was not TIPS certified. These exclusions were added to the policy after the policy

was issued and were never communicated to Bar.

       9.      An actual and justiciable controversy exists between Bar and Houston

regarding the coverage afforded by the policies, for which this judgment is sought.

       10.     Bar understood from Houston that it was buying and paying for coverage for

several years and that it was getting coverage which would protect it from suits such as

Tidmore’s. The Court should reform the policy by removing the uncommunicated

exclusions to make the policy provide the intended coverage.

       11.     Plaintiff, Tidmore, is involved because she has claims which will be affected.
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       Plaintiffs pray that the Court enter its judgment reforming the policy and declaring

that the insurance policies Houston issued afford coverage for the claims asserted in the

lawsuit brought by the Plaintiff, Tidmore; and Defendant, Houston owes a duty to defend

Plaintiff, Bar from those lawsuits, and for such other and further relief as this Court may

find just and equitable in the premises.

                                                 s/Rex Travis

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ATTORNEY’S LIEN CLAIMED




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